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                                       UNITED STATES DISTRICT COURT
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                                      CENTRAL DISTRICT OF CALIFORNIA
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 10    GUY CARLSON,                                                Case No. LACV 19-056-VBF (LAL)

 11                                          Petitioner,           ORDER ACCEPTING REPORT AND
                                                                   RECOMMENDATION OF UNITED
 12                              v.                                STATES MAGISTRATE JUDGE
 13    KELLY SANTORO,

 14                                             Respondent.

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 17             Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended Petition, the
 18    Magistrate Judge’s Report and Recommendation, Petitioner’s Objections to the Report and
 19    Recommendation, and the remaining record, and has made a de novo determination.
 20            To the extent Petitioner attempts to raise new claims in his Objections, the Court declines
 21    to formally address these belatedly-asserted allegations. A district court has discretion, but is not
 22    required, to consider evidence or claims presented for the first time in objections to a report and
 23    recommendation. 1 Although Petitioner is pro se, he nevertheless had the opportunity to include
 24    all of his allegations at an earlier time but failed to do so. Moreover, Petitioner’s claims are not
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       1 See Brown v. Roe, 279 F.3d 742, 744-45 (9th Cir. 2002).
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   1   novel claims. 2 However, the Court has considered Petitioner’s arguments and find they lack
   2   merit.
   3            Petitioner’s Objections otherwise lack merit for the reasons set forth in the Report and
   4   Recommendation.
   5            Accordingly, IT IS ORDERED THAT:
   6            1.      The Report and Recommendation is approved and accepted;
   7            2.      Judgment be entered denying the First Amended Petition and dismissing this
   8                    action with prejudice; and
   9            3.      The Clerk serve copies of this Order on the parties.
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       Dated: October 13 2021                                        /s/ Valerie Baker Fairbank
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 13                                                         HONORABLE VALERIE BAKER FAIRBANK
                                                            SENIOR UNITED STATES DISTRICT JUDGE
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       2 See Sossa v. Diaz, 729 F.3d 1225, 1231 (9th Cir. 2013).
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